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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                8:14CR209
                                              )
       vs.                                    )
                                              )
GREGORY NEGUS and                             )                  ORDER
JEFFREY NEGUS,                                )
                                              )
                     Defendants.


      This matter is before the court on defendant Gregory Negus’ unopposed Motion to
Continue Trial [36]. Counsel needs additional time to explore plea negotiations. The
defendant shall comply with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the Motion to Continue Trial [36] is granted, as follows:

     1. The jury trial, for both defendants, now set for July 28, 2015 is continued to
September 15, 2015.

       2. Defendant is ordered to file a waiver of speedy trial as soon as practicable

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and September 15, 2015, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED July 6, 2015.

                                     BY THE COURT:

                                     s/ F.A. Gossett, III
                                     United States Magistrate Judge
